                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )      NO. 3:09-00262
                                                )      JUDGE CAMPBELL
TERRY KRETZ, et al.                             )

                                         ORDER

      Pending before the Court is the Government’s Motion to Substitute Counsel (Docket No.

111). The Motion is GRANTED.

      It is so ORDERED.

                                                ____________________________________
                                                TODD J. CAMPBELL
                                                UNITED STATES DISTRICT JUDGE




 Case 3:09-cr-00262       Document 112     Filed 02/13/13    Page 1 of 1 PageID #: 293
